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FOR GOOD CAUSE SHOWN, it is hereby ORDERED that:
1. The verbal Order by Deputy Commissioner Glenn made on or about February 25, 2004, which barred the defendants from disputing the compensability of the plaintiff's claim because the defendants had not filed a Form 61 within 90 days of the initiation of the plaintiff's claim, is hereby REVERSED;
2. The March 8, 2005, Opinion and Award of Deputy Commissioner Glenn is hereby VACATED; and,
3. This matter is hereby REMANDED to Chief Deputy Commissioner Stephen T. Gheen for assignment to a deputy commissioner for a full evidentiary hearing on all of the issues in this case, and the entry of an Opinion and Award on the issues presented therein.
This 22nd day of August 2005.
                                  S/_______________ CHRISTOPHER SCOTT COMMISSIONER
CONCURRING:
  S/____________ BUCK LATTIMORE CHAIRMAN
  S/_____________ PAMELA T. YOUNG COMMISSIONER